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      UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MARYLAND

                                          (Southern   Division)



PAUL H. GEFFERT
ELIZABETH GEFFERT, et al.

        Plaintiffs


v.                                               Case No.   8:11-cv-03570-RWT
AMERICAN HOME
MORTGAGE SERVICING INC.

        Defendants




                                    VOLUNTARY DISMISSAL

        Plaintiffs Paul H. Geffert and Elizabeth Geffert hereby dismiss their action pursuant

to Rule 41 (a)(1)(A)(i)   of the Federal Rules of Civil Procedure       before any answer or

summary judgment motion in light of this Court's recent ruling in Casey v. Litton Loan

Servicing LP, CIV.A. RDB-II-078?,        2012 WL 502886 (D. Md. Feb. 14,2012)          in which

the Court found it lacked jurisdiction over similar claims asserted herein and "each of the

Plaintiffs' complaints, ifit occurred at all, was perpetrated by the substitute trustees and not

the Defendant" loan servicer.
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                                       Respectfully Submitted,

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                                 CERTIFICATE             OF SERVICE

This is to certifY that on this date, April 16, 2012 a true and correct copy of the foregoing Rule 41
(a)(l)(A)(i) Voluntary Dismissal was served upon all attorneys of record via the Court's ECF
system.

                                       lsi Phillip R. Robinson
                                       Phillip R. Robinson. Esq.
